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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION

     FRACTUS, S.A.,
                  Plaintiff,                                  JURY TRIAL DEMANDED
     v.
     AT&T MOBILITY LLC,
               Defendant,
     CELLCO PARTNERSHIP D/B/A VERIZON
     WIRELESS,                                               Case No. 2:18-cv-00138-JRG1
              Defendant,
     COMMSCOPE TECHNOLOGIES LLC and
     CELLMAX TECHNOLOGIES AB,
                  Intervenor-Defendants.

                       FRACTUS’S PARTIALLY OPPOSED
              RENEWED MOTION TO AMEND DOCKET CONTROL ORDER

          Plaintiff Fractus, S.A. (“Fractus”) respectfully renews its motion to the Court for an order

 allowing a limited extension of the deadline to complete fact discovery, which passed on April 15,

 2019. Fractus also requests limited extensions for supplemental expert reports, depositions, and

 briefing on challenges to the supplemental expert reports. This request is being made pursuant to

 the recent order by the U.S. District Court for the Southern District of New York compelling non-

 party Amphenol Corp. (“Amphenol”) to produce documents, things, and witnesses for deposition

 pursuant to Fractus’s motion to compel. See Dkt No. 432. Fractus submits this motion seeking an

 order extending the April 15, 2019 fact discovery deadline to July 12, 2019, for the sole purpose

 of permitting Fractus to take discovery of documents and things and depositions of Amphenol,

 which Amphenol has agreed to provide by July 12, 2019.              The discovery at issue—while




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  The instant motion affects only Case No. 2:18-cv-00138-JRG (“the Verizon case”), because, to
 the best of Fractus’s understanding, Amphenol sells infringing products only to Verizon, not to
 AT&T or T-Mobile.
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 important—is narrow, and extending the fact discovery deadline set forth in Fractus’s proposal

 will not delay the overall progress of the related cases. Defendants and Defendant-Intervenors do

 not oppose this portion of the motion pertaining to fact discovery.

        In addition, pursuant to the Court’s order denying without prejudice Fractus’s earlier

 motion (Dkt No. 278), Fractus has also proposed a reasonable extension of the deadlines for

 supplementing expert reports for the sole purpose of addressing the Amphenol discovery, for any

 follow-up expert depositions relating to the supplemental reports, and for any follow-up Daubert

 motions relating to the supplemental reports. Dkt No. 278 at 2 n.1. Fractus proposes that any

 supplemental expert report be due July 16, any supplemental rebuttal report be due July 30, any

 expert depositions be completed by August 9, and any follow-up Daubert motions related to the

 supplemental reports be due August 16, with an expedited briefing schedule and abbreviated page

 limits, as set forth in the attached proposed order. All other deadlines would remain unchanged.

        The parties have met and conferred, and Defendants and Defendant-Intervenors oppose

 Fractus’s proposal with respect to supplementing expert reports. Specifically, Defendant Cellco

 Partnership d/b/a Verizon Wireless (“Verizon”) adopted the following position: “Verizon’s

 position is that, given that Amphenol has been ordered by the U.S. District Court for the Southern

 District of New York to provide certain discovery to Fractus, Verizon does not oppose Fractus’s

 request to extend the deadline to complete fact discovery solely with respect to Amphenol

 Corporation, but Verizon does oppose the remainder of the proposed Amended Docket Control

 Order as premature and unworkable in view of the existing schedule in this case.” Ex. 1.

 Defendant-Intervenor CommScope Technologies LLC (“CommScope”) adopted Verizon’s

 position. Ex. 2. Defendant-Intervenor Cellmax Technologies AB (“Cellmax”) stated that it “does




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 not have a dog in this fight because the Amphenol antennas are only accused in the Verizon case

 in which it is not a party.” Ex. 3.

        Defendants’ concerns are misplaced and their position unreasonable because the

 information Fractus has diligently sought and is only now finally receiving is important to its

 infringement case, as the Court previously recognized. Dkt No. 278 at 2 (“While Fractus

 demonstrates that such discovery is important to its case . . . .”). Fractus will suffer prejudice if it

 is not permitted to supplement its expert report, and the limited supplementation proposed by

 Fractus will not affect the case schedule, contrary to Defendants’ suggested approach during the

 meet and confers.2 Defendants suggested that after Fractus receives the fact discovery, it should

 serve its proposed supplement, wait for Defendants to state their agreement or opposition, and if

 Defendants oppose, only then begin briefing on a motion for leave—leaving for a later time

 potential depositions and Daubert challenges. This would be inefficient and significantly more

 challenging to the schedule, as well as contrary to the Court’s request that Fractus propose a

 schedule for supplemental reports and Daubert briefing related to the Amphenol discovery. See

 Dkt No. 278.

        Here, Fractus has been unable to obtain leave to amend until now when, after many months

 of diligent pursuit, it will at long last receive the discovery it has sought from Amphenol, including

 by engaging in motion practice across three separate courts. Supplementing its expert report is of

 critical importance to Fractus because the main purpose of the Amphenol discovery is to support




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          In determining whether a party seeking to modify the scheduling order has met its burden
 under Rule 16(b)(4), the court “considers four factors: (1) the movant's reasons for failing to timely
 for leave to amend; (2) the importance of the amendment; (3) the prejudice that the respondent
 would suffer if the extension is allowed; and (4) the availability of a continuance to cure this
 prejudice.” Zilberman v. Caroffer, LLC, No. 4:15-CV-589, 2016 WL 3060081, at *2 (E.D. Tex.
 May 31, 2016).


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 Fractus’s infringement theories. Allowing Fractus to take the necessary discovery, but preventing

 it from using such discovery in its expert reports, as Defendants suggest, would strip the discovery

 of any purpose, as Fractus’s expert could not opine about it at trial, and Fractus would thereby

 effectively be foreclosed from proving infringement by Amphenol antennas at trial. Defendants’

 opposition to Fractus’s supplementation proposal is especially problematic in light of Verizon’s

 Daubert motion seeking to preclude Fractus’s expert Dr. Stuart Long from testifying about

 infringement by Amphenol due to the absence of critical technical documents and his inability to

 rely upon them. See Dkt No. 339. It is precisely the information Verizon claims is missing from

 Dr. Long’s report that Fractus has sought for months and expects to receive in discovery from

 Amphenol over the next several weeks. Preventing Fractus from supplementing its report to

 include this information would simply serve to validate Defendants’ self-fulfilling prophecy. See

 Cywee Group Ltd. v. Samsung Elecs. Co. Ltd., Case No. 2:17-CV-140-WCB, 2018 WL 5834148,

 at *7 (E.D. Tex. Nov. 7, 2018) (granting patentee leave to supplement expert report to include

 information discovered from third party when it “was reasonably diligent in seeking the pertinent

 source code throughout the discovery period in light of the difficulties it encountered” and

 demonstrated “legitimate reasons for the delay in serving its amended infringement contentions”).

        Conversely, granting Fractus’s proposed motion in full will serve the interests of justice

 and resolution of disputed factual issues on the merits without prejudicing Defendants or disrupting

 the remainder of the case schedule. Any supplementation of Fractus’s expert report will be narrow

 and prompt, as will any follow-up depositions or rebuttal reports. In particular, Fractus expects

 Dr. Long to apply to the soon-to-be-produced Amphenol data the same exact methodologies he

 has already applied to dozens of different antenna models and about which he has already been

 deposed across multiple days of examination. See, e.g. Core Wireless Licensing v. LG Elecs., Inc.,




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 No. 2:14-cv-911-JRG-RSP, 2016 WL 1090351, at *3 (E.D. Tex., Mar. 19, 2016) (holding that

 supplemental reports “based on the same methodologies and mathematical formulae disclosed in

 [the expert’s] original report [in which the expert’s] opinions have simply been adjusted” did not

 cause prejudice). Further, while Fractus does not believe its supplementation of Dr. Long’s report

 will necessitate any Daubert challenges, as it will simply apply his same methodologies to the

 Amphenol data, Fractus’s proposal includes deadlines for briefing challenges to the supplement,

 thus preserving Defendants’ rights should they believe Fractus’s supplement is inappropriate in

 some way. Finally, no continuance is necessary to cure any prejudice because, as set forth above,

 the scope of supplementation will be narrow and limited.

        Fractus, therefore, respectfully requests that the Court grant limited extensions of the fact

 and expert discovery deadlines. Fractus further requests that the Court expedite briefing on this

 issue, given Defendants’ opposition and the pressing time concerns. A proposed Third Amended

 Docket Control Order is attached hereto.



 Dated: July 1, 2019                          Respectfully submitted,

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                               CERTIFICATE OF CONFERENCE

        Counsel for Fractus has complied with the meet and confer requirement in Local Rule CV-

 7(h). Defendant Verizon and Intervenor-Defendant CommScope partially oppose this Renewed

 Motion for Leave to Amend the Docket Control Order.

        On Wednesday, June 19, 2019, the Southern District of New York ordered Amphenol to

 produce the requested documents and things within two weeks and to provide witnesses for

 deposition within three weeks. That day, counsel for Fractus sent an email to counsel for

 Amphenol, which is also counsel for Verizon, to ascertain when and where exactly it would be

 making documents and witnesses available. That day, as well, Fractus filed a Notice of Relevant

 Determination. Dkt No. 432.

        On Friday, June 21, 2019 counsel for Amphenol responded with dates certain for its

 production and for the depositions, including a proposed location for the depositions.

        On Tuesday, June 25, 2019, counsel for Fractus sent an email to Amphenol to confirm

 those dates and locations.

        On Wednesday, June 26, 2019, counsel for Fractus sent an email to all Defendants and

 Defendant-Intervenors formally proposing the extension of fact and expert discovery deadlines

 discussed herein for the purposes of incorporating the Amphenol information into Dr. Long’s

 expert report. Later that day, counsel for Fractus (Steven Perlstein, Gabriela Ruiz, George

 Stamatopoulos, Michael Ng, Michael Rosen, Andrea Fair, and Elizabeth DeRieux) conferred by

 telephone with Brady Cox, Ross Barton, Bradley Hyde, and Rick Frenkel of Verizon; David Tobin

 of T-Mobile; Dennis Bremer and Brian Craft of CommScope; and Peter Ayers of CellMax in an

 effort to resolve this motion.    During the phone call, Fractus explained that the proposed

 supplemental expert report would be limited to incorporating the Amphenol discovery and likely
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 would not necessitate a rebuttal report or any further deposition of Dr. Long. Counsel for

 Defendants and Defendant-Intervenors responded that they would not oppose Fractus’s taking

 discovery from Amphenol but that they were not inclined to agree to allow Fractus to supplement

 Dr. Long’s report to include that discovery. Instead, Defendants and Defendant-Intervenors

 suggested that Fractus request the Court’s permission to extend the fact discovery deadline to allow

 it to take discovery from Amphenol, then, if necessary, serve a proposed supplemental report on

 Defendants and Defendant-Intervenors, at which time Defendants and Defendant-Intervenors

 would consider not opposing a second motion by Fractus to amend the discovery order again to

 permit the supplementation of Dr. Long’s report.        Counsel for Defendants and Defendant-

 Intervenors then requested that Fractus send them a draft of the motion and proposed order.

        On Thursday, June 27, 2019, counsel for Fractus sent an email to counsel for Defendants

 and Defendant-Intervenors enclosing an earlier version of the instant motion and the proposed

 Third Amended Docket Control Order that accompanies it.

        On Friday, June 28, 2019, counsel for Defendants and Defendant-Intervenors responded

 by email that they would not oppose the portion of this motion seeking an extension of the fact

 discovery deadline but that they would oppose the portion of this motion seeking an extension of

 the expert discovery deadline, as set forth herein.

        As a result, the parties, through their counsel, conclusively arrived at an impasse, leaving

 an open issue for the Court to resolve.

  /s/ Michael Ng                                          /s/ Elizabeth L. DeRieux
  Michael Ng                                              Elizabeth L. DeRieux

  /s/ Michael Rosen                                       /s/ Andrea L. Fair
  Michael Rosen                                           Andrea L. Fair

  Counsel for Fractus, S.A.
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                                CERTIFICATE OF SERVICE

         I certify that the foregoing document was served by CM/ECF on July 1, 2019, and has

  been served on all counsel who have consented to electronic service.

                                                           /s/ Michael Ng
                                                           Michael Ng
